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 1   [Submitting Counsel on Signature Page]
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                                 IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
                                                               Case Nos.:   4:23-cv-05448-YGR
12    People of the State of California, et al.,                            4:22-md-03047-YGR

13           v.                                                MDL No. 3047

14    Meta Platforms, Inc., Instagram, LLC, Meta               STATE ATTORNEYS GENERALS’
      Payments, Inc., Meta Platforms Technologies,             MOTION TO REISSUE RULE 45
15    LLC.                                                     SUBPOENA

16   -------------------------------------------------------

17   IN RE: SOCIAL MEDIA ADOLESCENT
     ADDICTION/PERSONAL INJURY
18   PRODUCTS LIABILITY LITIGATION
19
     THIS DOCUMENT RELATES TO:
20
     4:23-cv-05448
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22

23            Pursuant to Local Rule 6-3 and Fed. R. Civ. P. 16(b)(4), the State Attorneys General
24   Plaintiffs (State AGs) respectfully request permission to reissue their third-party subpoena to
25   Mindshare Media, Ltd. (Mindshare), pursuant to Rule 45, following the close of fact discovery.
26   There is good cause for this request, as set forth below.
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28   STATE ATTORNEYS GENERALS’
     MOTION TO REISSUE SUBPOENA
                                                                              CASE NOS.: 4:23-CV-05448-YGR
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 1   I.     Factual Background

 2          The State AGs issued a Rule 45 subpoena to third-party company Mindshare on March 10,

 3   2025. See Ex. 1, Rule 45 Subpoena to Mindshare, and Ex. 2, Cover Letter. Mindshare is a media

 4   agency that performed work for Meta from approximately 2014 to 2021. As the State AGs

 5   understand it, in that time, Mindshare provided services to Meta such as media planning and buying

 6   for Meta-specific advertising content, branding, and messaging. As such, Mindshare is likely to

 7   have information highly relevant to core issues in this case, including information relating to Meta’s

 8   communications with the public about its platforms, Meta’s demographic and other types of ad

 9   targeting, and information regarding the reach of Meta’s advertisements to the public within the

10   relevant time period.

11          The State AGs issued a subpoena to Mindshare seeking this information on March 10, 2025,

12   and provided Meta with notice of that subpoena the same day. See Ex. 3, Notice of Subpoena. To

13   serve the subpoena, the State AGs retained a process server to serve Mindshare via its corporate

14   registered agent, Corporate Creations Network, Inc. on March 11, 2025. It is undisputed that

15   Corporate Creations Network is the correct registered agent for Mindshare.

16          On March 11, 2025, the Colorado Attorney General’s Office received a communication

17   from the process server indicating that they had attempted service at the address for Corporate

18   Creations Network in Delaware (1521 Concord Pike, Ste. 201, Wilmington, DE 19803), but that

19   service had been rejected due to a “bad address.” The process server explained that an intake

20   specialist at Corporate Creations Network advised the process server that the correct registered

21   agent for Mindshare Media Ltd. was located at “1209 Orange Street Wilmington DE CTC The

22   Corporation Trust Company.” 1 Relying on this representation, the Colorado Attorney General’s

23   Office asked the process server to serve the subpoena at the Orange Street address provided.

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     1
       It is unclear why the subpoena was rejected. The State AGs believe that the confusion may stem
25
     from the fact that the subpoena was directed to “Mindshare Media, Ltd.” (which Mindshare
26   represents to be its company name on its website, see https://www.mindshareworld.com/), versus
     being directed to “GroupM” or “WPP plc.”, which appear to be the parent companies of
27
     STATE ATTORNEYS GENERALS’
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 1          The registered agent then re-served the subpoena at the Orange Street address, attaching a

 2   photograph of the front door to the affidavit of service. See Ex. 4, Affidavit of Service at 3.

 3   Although the photograph shows a large “CT” on the door, the affidavit itself represented that the

 4   process server served the subpoena on an intake specialist employed by “Corporate Creations

 5   Network.” See id. at 1. Based on this affidavit of service, the State AGs believed that,

 6   notwithstanding the initial confusion, the subpoena had been properly served on Mindshare’s

 7   registered agent, Corporate Creations Network.

 8          The State AGs did not receive a timely response to this subpoena, and so contacted

 9   Mindshare on April 8, 2025, to inquire as to the status of a response. The State AGs received a

10   response from Mindshare’s counsel the same day, and the parties were able to discuss the

11   parameters of the subpoena and the potential timing of a production. Mindshare’s counsel

12   represented, however, that Mindshare had no record of receiving the subpoena, and indicated that

13   although objections would be forthcoming, Mindshare’s counsel agreed to discuss the production

14   of certain documents with her client.

15          Then, on April 11, the State AGs received correspondence from Mindshare’s counsel stating

16   that Mindshare believes it was never properly served with the subpoena and thus is under no

17   obligation to respond. The State AGs immediately requested and received from the Court a one-

18   week extension of time to investigate these allegations and assess whether Mindshare’s objection

19   was appropriate. See ECF Nos. 198 and 199.

20          The State AGs have now concluded their investigation and agree that it appears Mindshare

21   was not properly served with the subpoena, as the intake specialist at Corporate Creations Network

22   rejected the subpoena and provided a different address for Mindshare’s corporate registered agent. 2

23
     Mindshare; if the State AGs receive permission to reissue the subpoena, they will issue the
24   subpoena to Group M Worldwide, LLC, d/b/a Mindshare to avoid this confusion going forward).
     2
       Again, the State AGs do not believe this was intentional, and instead stemmed from confusion
25
     about the party identified on the subpoena. The intake specialist may have believed that the
26   subpoena was directed to a company called “Mindshare Media Corporation,” which is a different
     entity that does not appear to currently be in business. The State AGs do not know what
27   relationship “Mindshare Media Corporation” has with the Mindshare at issue in this subpoena.
     STATE ATTORNEYS GENERALS’
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 1   It appears that the affidavit of service the State AGs received from the process server was

 2   inaccurate, and should have said that the documents were served on The Corporation Trust

 3   Company, not Corporate Creations Network.

 4   II.    Argument

 5          The State AGs request permission to reissue the Mindshare subpoena. Fact discovery in this

 6   case closed, for most (but not all) purposes, on April 4, 2025. The State AGs submit that there is

 7   good cause to allow them to re-serve the subpoena at this juncture, less than two weeks later. See

 8   Fed. R. Civ. P. 16(b)(4) (“A schedule may be modified only for good cause and with the judge’s

 9   consent.”).

10          First, the State AGs attempted to serve the subpoena within the discovery period, and

11   reasonably relied on the affidavit of service to conclude that the subpoena was properly served on

12   Corporate Creations Network. Upon being advised on April 11, 2025, that the subpoena was not

13   properly served—notwithstanding the representations on the affidavit—the State AGs acted

14   immediately to advise the Court of the issue and take steps to investigate Mindshare’s concerns

15   about service. See ECF No. 198.

16          Second, no party will be prejudiced by reissuance of the subpoena. Meta received notice of

17   the original subpoena on March 10, 2025, and did not object. There is no trial currently set in this

18   case, and, notwithstanding the close of fact discovery, the parties are continuing to make exchanges

19   of information by agreement in order to complete the fact discovery process. Reissuance of the

20   subpoena less than two weeks following the close of fact discovery will not affect any other case

21   deadlines, and the information that the State AGs seek by way of this subpoena is information about

22   Meta’s own advertising and branding of which Meta should already have knowledge.

23          Third, and conversely, the State AGs will be highly prejudiced if they are unable to reissue

24   the subpoena. As explained above, the State AGs believe that Mindshare possesses information

25   central to the claims in this case, which—among other things—focus on the nature and scope of

26   Meta’s representations to the public about the benefits, risks, and safety of its platforms. Learning

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 1   where and how Meta made many of these representations is thus critical to understanding the range

 2   of Meta’s communications with the public (or lack thereof) on these core issues. The State AGs

 3   also believe that Mindshare possesses information regarding Meta’s audience targeting, campaigns

 4   directed to particular groups or demographics, etc., that may be equally important to understanding

 5   how Meta communicated with teens, young adults, and parents of young users of its platforms.

 6   Should the State AGs be granted permission to reissue the subpoena, they plan to confer

 7   substantively with Mindshare to better understand what information Mindshare possesses, and

 8   would work with Mindshare to coordinate production of materials while attempting to limit the

 9   burden on Mindshare as much as reasonably possible.

10          Because Mindshare is not yet a party to the subpoena or to the case, the State AGs are unable

11   to file a stipulation seeking the relief they are requesting. The State AGs have conferred with

12   counsel for Mindshare regarding their intent to file this motion, and have been advised that

13   Mindshare intends to stand on all available objections if the subpoena is re-served.

14          Accordingly, for the foregoing reasons, the State AGs respectfully request permission to re-

15   serve their Rule 45 subpoena on Mindshare. The State AGs are hopeful that they will reach a

16   negotiated resolution with Mindshare regarding a production, but if disputes arise, Mindshare will

17   have been served with the subpoena and will be better positioned to raise its objections with the

18   Court directly.

19   Dated: April 17, 2025

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     Respectfully submitted,
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     STATE ATTORNEYS GENERALS’
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28   STATE ATTORNEYS GENERALS’
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 1                                    CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that a copy of the foregoing was served via CAND/ECF
 3   on all parties of record and further certifies that the foregoing was served via electronic mail on
     April 17, 2025, to the following Counsel for Mindshare Media, at:
 4
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 5          jklausner@dglaw.com
            Davis+Gilbert LLP
 6          1675 Broadway, New York, NY 10019
 7          dglaw.com

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